AO 245B (Rev. 11 /16)
  Sheet 1- Judgment in a Criminal Case
                                                                                                                          AUG    ;~I   2J17
                                                                                                                        a. s. Dls~·Rrc-- COURT
                                     United States District Court                                                     EASTERN OISTRIC T OF MO
                                                                                                                         CAPE 31PARDEAU
                                                        Eastern District of Missouri
                        UNITED ST ATES OF AMERICA
                                         v.                               JUDGMENT IN A CRIMINAL CASE
                        JULIUS LAMON JONES
                                                                         CASE NUMBER:          1:16CR00035RLW
                                                                            USM Number: 45837-044
                                                                                              ~~~~~~~~~~~~~-




  THE DEFENDANT:                                                            Jacob Andrew Zimmerman
                                                                             Defendant's Attorney
  D       pleaded guilty to count(s)

  D which
    pleaded nolo contendere to count(s) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
          was accepted by the court.
  l'\:71 was found guilty on <;:ount(s)
                                     one ( l) and two (2) of the Indictment on March 14, 2017.
  ~    after a plea of not guilty
  The defendant is adjudicated guilty of these offenses:
                                                                                                          Date Offense   Count
 Title & Section                                Nature of Offense                                         Concluded    Number(s)
18:1951.F                                     Interference With Commerce by Threat or Violence       711/2015



18:924C.F                                     Possession of Firearm in Furtherance of a Crime of      7/1/2015               2
                                              Violence




       The defendant is sentenced as provided in pages 2 through               8    ofthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.

  D      The defendant has been found not guilty on count(s)

 D       Count(s) - - - - - - - - - - - - -                                  dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofnarne, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                             August 21, 2017
                                                                             Date of Imposition of Judgment




                                                                             Signature of Judge

                                                                             RONNIE L. WHITE
                                                                             UNITED STATES DISTRICT JUDGE
                                                                            Name & Title of Judge


                                                                             August 21, 2017
                                                                            Date signed

   Record No.:     50
AO 245B (Rev. 11/16)    Judgment in Criminal Case   Sheet 2 - Imprisonment
                                                                                                           Judgment-Page _2_      of   _8_ _
  DEFENDANT: JULIUS LAMON JONES
  CASE NUMBER: 1:16CR00035RLW
  District: Eastern District of Missouri
                                                             IMPRISONMENT
  The defendant is hereby committed to the custody ofthe Federal Bureau of Prisons to be imprisoned for a total term of 308 MONTHS


  This term consists of a term of 188 months on count one and 120 months on count two, all such terms to be served consecutively. This
  sentence shall run concurrent with any sentence imposed in Circuit Court, Dunklin County, Missouri, under Docket No.: 15DU-CR00657,
  and consecutive to any sentence imposed in Shelby County Criminal Court, Memphis, Tennessee, under Docket No.: 01-12258.




  ~      The court makes the following recommendations to the Bureau of Prisons:
  It is recommended that the defendant participate in the Financial Responsibility Program while incarcerated and that he be placed as close
  to northeast Arkanasa, as possible, if that is consistent with Bureau of Prisons policies.




  ~      The defendant is remanded to the custody of the United States Marshal.

  D      The defendant shall surrender to the United States Marshal for this district:

         D      at                        a.m./pm on
         D      as notified by the United States Marshal.

  D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

         D      before 2 p.m. on

         D      as notified by the United States Marshal
         D      as notified by the Probation or Pretrial Services Office




                                    MARSHALS RETURN MADE ON SEPARATE PAGE
 AO 245B (Rev. 11/16)     Judgment in Criminal Case    Sheet 3 • Supervised Release

                                                                                                                  Judgment-Page   _3_ of _8_ _
     DEFENDANT: JULIUS LAMON JONES
     CASE NUMBER: 1:16CR00035RLW
     District:    Eastern District of Missouri


                                                          SUPERVISED RELEASE
          Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 YEARS.        ~~~~~~~~




     This term consists of a term of three years on each of counts one and two, all such terms to run concurrently.




                                                        MANDATORY CONDITIONS
I.     You must not commit another federal, state or local crime.
2.     You must not unlawfully possess a controlled substance.
3.     You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
       imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                  D     The above drug testing condition is suspended, based on the court's determination that you
                        pose a low risk of future substance abuse. (check if applicable)

4.          181   You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

5.          D     You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
                  et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
                  the location where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

6.          D     You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
 AO 245B (Rev. 11/16)   Judgment in Criminal Case    Sheet JA - Supervised Release

                                                                                                                                   4_ of
                                                                                                                   Judgment-Page _ _        _8_ _
     DEFENDANT: JULIUS LAMON JONES
     CASE NUMBER: I :16CR00035RLW
     District:   Eastern District of Missouri


                                           STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release
       from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the
       probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take
       any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing
       so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from
       doing so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities), you must
       notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
       due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
       change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted
       of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first
    getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require you
    to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm
    that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment
containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised Release Conditions,
available at: www.uscourts.gov.



Defendant's Signature                                                                                       Date
AO 2458 (Rev. 11/16)    Judgment in Criminal Case   Sheet 3B - Supervised Release

                                                                                                                             5_ of
                                                                                                             Judgment-Page _ _           _8_ _
  DEFENDANT: JULIUS LAMON JONES
  CASE NUMBER: 1:16CR00035RLW
 District:      Eastern District of Missouri
                                       ADDITIONAL SUPERVISED RELEASE TERMS
  While on supervision, the defendant shall comply with the standard conditions that have been adopted by this Court and shall comply with
  the following additional conditions. If it is determined there are costs associated with any services provided, the defendant shall pay those
  costs based on a co-payment fee established by the probation office.
  You must participate in an educational services program and follow the rules and regulations of that program. Such programs may include
  high school equivalency preparation, English as a Second Language classes, and other classes designed to improve your proficiency in
  skills such as reading, writing, mathematics, or computer use.

  You must provide the probation officer with access to any requested financial information and authorize the release of any financial
  information. The probation office may share financial information with the U.S. Attorney's Office.

  You must not incur new credit charges, or open additional lines of credit without the approval of the probation officer.

  You must apply all monies received from any anticipated and/or unexpected financial gains, including any income tax refunds,
  inheritances, or judgments, to the outstanding Court-ordered financial obligation. You must immediately notify the probation office of the
  receipt of any indicated monies.

  If the judgment imposes a financial penalty, you must pay the financial penalty in accordance with the Schedule of Payments sheet of the
  judgment. You must also notify the court of any changes in economic circumstances that might affect the ability to pay this financial
  penalty.

  You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(l)), other
  electronic communications or data storage devices or media, or office, to a search conducted by a United States probation officer. You
  must warn any other occupants that the premises may be subject to searches pursuant to this condition. The probation officer may conduct
  a search under this condition only when reasonable suspicion exists that you have violated a condition of supervision and that the areas to
  be searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.

  You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not attempt to obstruct or
  tamper with the testing methods.
AO 2458 (Rev 11/16)   Judgment in Criminal Case     Sheet 5 - Criminal Monetary Penalties

                                                                                                                           Judgment-Page   6      of   _8_ _
  DEFENDANT: JULIUS LAMON JONES
  CASE NUMBER: 1:16CR00035RLW
  District: Eastern District of Missouri
                                                  CRIMINAL MONETARY PENALTIES
  The defendant must pay the total criminal monetary penalties under the schedule of payments on sheet 6
                               Assessment              JVTA Assessment*                    Fine                                     Restitution

      Totals:                   $200.00                                                                                          $11,000.00


 D     The determination of restitution is deferred until
       will be entered after such a determination.
                                                                                             An Amended Judgment in a Criminal Case (AO 245C)



  D     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
 If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless specified
 otherwise in the priority order or percentage payment column below. However, pursuant ot 18 U.S.C. 3664(i), all nonfederal
 victims must be paid before the United States is paid.

 Name of Payee                                                                              Total Loss*       Restitution Ordered Priority or Percentage

 Curt's Grocery Store                                                                                         $11,000.00




                                                                                                                $11,000.00

 D Restitution amount ordered pursuant to plea agreement


 D The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
   before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
      Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        ~ The interest requirement is waived for the.                    D      fine                ~     restitution.
        D     The interest requirement for the      D     fine     D     restitution is modified as follows:




*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount of losses are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed on or
after September 13, 1994 but before April 23, 1996.
AO 2458 (Rev. 11/16)   Judgment in Criminal Case   Sheet SA - Criminal Monetary Penalties

                                                                                                            Judgment-Page     7    of   8
   DEFENDANT: JULIUS LAMON JONES
   CASE NUMBER: 1:16CR00035RLW
   District:     Eastern District of Missouri

                       ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES

 All criminal monetary penalties are due in full immediately. The defendant shall pay all criminal monetary penalties through the Clerk of
 Court. If the defendant cannot pay in full immediately, then the defendant shall make payments under the following minimum payment
 schedule: During incarceration, it is recommended that the defendant pay criminal monetary penalties through an installment plan in
 accordance with the Bureau of Prisons' Inmate Financial Responsibility Program at the rate of 50% of the funds available to the defendant.
 If the defendant owes any criminal monetary penalties when released from incarceration, then the defendant shall make payments in
 monthly installments of at least $100, or no less than 10% of the defendant's gross earnings, whichever is greater, with payments to
 commence no later than 30 days after release from imprisonment. Until all criminal monetary penalties are paid in full, the defendant shall
 notify the Court and this district's United States Attorney's Office, Financial Litigation Unit, of any material changes in the defendant's
 economic circumstances that might affect the defendant's ability to pay criminal monetary penalties.
AO 245B (Rev. 11116)   Judgment in Criminal Case     Sheet 6 - Schedule of Payments

                                                                                                                        Judgment-Page      8    of   _8_ _
  DEFENDANT: JULIUS LAMON JONES
  CASE NUMBER: 1: l 6CR00035RL W
  District:       Eastern District of Missouri
                                                         SCHEDULE OF PAYMENTS
        Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

   A    181    Lump sum payment of        $11,200.00             due immediately, balance due

                                   D   not later than                                 , or

                                   D   in accordance with     D    C,   D   D, or       D    E below; or   D F below; or
  BD          Payment to begin immediately (may be combined with                 D    C,     D     D, or   D E below; or D        F below; or
  CD          Payment in equal                     (e.g., equal, weekly, monthly, quarterly) installments of                        over a period of

             ------- e.g., months or years), to commence                                      (e.g., 30 or 60 days) after the date of this judgment; or

  0    D     Payment in equal                    (e.g., equal, weekly, monthly, quarterly) installments of                       over a period of
                                 e.g., months or years), to commence                      (e.g., 30 or 60 days) after release from imprisonment to a
        term of supervision; or
 E    D       Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after Release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time: or
  F    181     Special instructions regarding the payment of criminal monetary penalties:
SEE PAGE 7 OF THIS JUDGMENT.


   Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
   during the period of imprisonment. All criminal monetary penalty payments, except those payments made through the Bureau of Prisons'
   Inmate Financial Responsibility Program are made to the clerk of the court.

   The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.




             Joint and Several
               Defendant and Co-defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
               and corresponding payee, if appropriate.
  This obligation is joint and several with Antonio Brown in Docket No.: 1: 15CR00108-l SNLJ, meaning that no further payments shall be
  required after the sum of the amounts actually paid by all defendants has fully covered the compensable injuries


  D          The defendant shall pay the cost of prosecution.

  D          The defendant shall pay the following court cost(s):




  D       The defendant shall forfeit the defendant's interest in the following property to the United States:




  Payments shall be applied in the following order: (1 ) assessment; (2) restitution principal, (3) restitution interest, (4) fine principal,
  (5)fine interest (6) community restitution.(7) penalties, and (8) costs, including cost of prosecution and court costs.
                                                          DEFENDANT: JULIUS LAMON JONES
                                                          CASE NUMBER: 1:16CR00035RLW
                                                           USM Number:   45837-044
                                                                         ------------
                                UNITED ST ATES MARSHAL
                         RETURN OF JUDGMENT IN A CRIMINAL CASE
I have executed this judgment as follows:




The Defendant was delivered on - - - - - - - - to - - - - - - - - - - - - - - - - - - -

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                          UNITED STATES MARSHAL


                                                    By
                                                             Deputy U.S. Marshal




D       The Defendant was released on - - - - - - - to- - - - - - - - Probation

D       The Defendant was released o n - - - - - - - to_ _ _ _ _ _ _ _ Supervised Release

D       and a Fine of_ _ _ _ _ _ __         D   and Restitution in the amount of- - - - - - - -



                                                          UNITED STATES MARSHAL


                                                     By
                                                              Deputy U.S. Marshal


I certify and Return that on _ _ _ _ _ _ _ , I took custody of - - - - - - - - - - - - - -

at
     ----------- and delivered same t o - - - - - - - - - - - - - - - - -
on - - - - - - - - - - - - - - - F.F.T. - - - - - - - - - - - - - - - - - - -
                                                          U.S. MARSHAL E/MO

                                                      By DUSM _ _ _ _ _ _ __
